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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.                                                 Case No. 21-CR-102-CVE

 CURTIS ANTHONY JONES,

              Defendant.

                           United States’ Notice of Lis Pendens

 TO:     Delaware County Treasurer; Delaware County Board of Commissioners;
         And All Whom It May Concern:

       NOTICE IS HEREBY GIVEN that on September 21, 2021, a Second

 Superseding Indictment was returned in the United States District Court for the

 Northern District of Oklahoma, in the foregoing action.

       The United States is seeking to forfeit the real property located at 26371 South

 650 Road, Grove, Delaware County, Oklahoma, more particularly described as:

              All that lot and parcel of land, together with all buildings,
              appurtenances, improvements, fixtures, attachments and easements
              thereon and all rights appertaining thereto located at the premises at
              26371 South 650 Road, Grove, Oklahoma 74344, more particularly
              described as South 298.00 feet of the North 1900.00 feet of the East
              494.00 feet of the East ½ Northeast ¼ of Section 21, Township 25
              North, Range 24, East of the Indian Base Meridian, Delaware
              County Oklahoma.
              LESS and EXCEPT: A tract of land in the East ½ Northeast ¼ of
              Section 21, Township 25 North, Range 24 East of the Indian Base
              Meridian, Delaware County, Oklahoma, more particularly described
              as follows: From the Northeast corner of Section 21; thence South
              1900 feet; thence North 89° 35’ 07” West 329 feet to the point of
              beginning; thence North 89° 35’ 07” 338 feet; thence South 89° 35’
              07” East 165 feet; thence South 338 feet to the point of beginning.
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               Together and along with; 1997 Fleetwood Mobile Home-VIN#
               SFLV25A389604763B Title #: 211014202006A.

               AND

               The South 35.00 feet of the North 1602.00 feet of the East 494.00
               feet of the East ½ of the Northeast ¼ of Section 21, Township 25
               North, Range 24 East of the Indian Base Meridian, Delaware County
               Oklahoma.

               Together will all and singular the tenements, hereditaments and
               appurtenances thereto belonging.

       Title 21, United States Code, Section 853(k) states no party claiming an

 interest in property subject to forfeiture may commence an action at law or equity

 against the United States concerning the validity of their interest after the filing of an

 indictment.

       Further information concerning this action may be obtained from the records

 of the Clerk of the Court for the United States District Court at Tulsa, Oklahoma.

       DATED: December 28, 2021



                                           Respectfully submitted,

                                           CLININT J. JOHNSON
                                           ACTING UNITED STATES ATTORNEY

                                           /s/ Reagan V. Reininger
                                           REAGAN V. REININGER, OBA #22326
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                                 Certificate of Service

       I hereby certify that on December 28, 2021, the foregoing document was
 electronically transmitted to the Clerk of Court using the ECF System for filing and
 transmittal of a Notice of Electronic Filing to counsel of record.

                                         /s/ Janna Tomah
                                         JANNA TOMAH, Data Analyst




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